EXHIBIT N
Ryan Snow

From:                                    Coles, Ashley (ELECT) <Ashley.Coles@elections.virginia.gov>
Sent:                                    Tuesday, September 10, 2024 12:37 PM
To:                                      Ryan Snow; FOIA (ELECT)
Cc:                                      monica@vacir.org; Javon Davis; Lawless, Rachel (ELECT); Polio, Dennis W.; Murphy,
                                         Andrew P.
Subject:                                 Re: Request for Records under VFOIA and NVRA
Attachments:                             Refined Discussed Records.zip



Ryan,

Thanks for meeting with us yesterday. As discussed, please see the records attached which include:

    1. A general overview of list maintenance procedures and processing;
    2. Letter samples for individuals cancelled due to being a non-citizen; and
    3. The MOUs established pursuant to EO31.

These records have already been pulled together and can be provided at no charge. You also indicated you are
withdrawing requests #2 and #5, and reconfirmed request #6 which is available under the NVRA and will be
provided within 90 days from the date of your request (without voter history).

Once you all review these records, please confirm the outstanding portion of your request including any
desired communications, guidance, procedures, etc. to ensure we provide an accurate estimate for the
remaining records.

Please note, in the "Add-Update Voter Step by Step Instruction" document there are examples of matching
personally identifiable information (PII) and how confidence factors would be calculated. The information
contained in these examples are not associated with actual registered voters, so there is no real PII being
provided. Redactions are made pursuant to 24.2-404(B), § 24.2-410.2(D), and § 2.2-3705.2(2) of the Code of
Virginia.

Please let me know if you have any questions.

Kindly,

Ashley Coles
Senior Policy Analyst
Virginia Department of Elections
1100 Bank St 1st Floor
Richmond, VA 23219
Ashley.Coles@elections.virginia.gov
804.864.8933 (office)




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From: Ryan Snow <rsnow@lawyerscommittee.org>
Sent: Thursday, September 5, 2024 4:04 PM
To: Coles, Ashley (ELECT) <Ashley.Coles@elections.virginia.gov>; FOIA (ELECT) <FOIA@elections.virginia.gov>
Cc: monica@vacir.org <monica@vacir.org>; Javon Davis <jdavis@lawyerscommittee.org>; Lawless, Rachel (ELECT)
<Rachel.Lawless@elections.virginia.gov>; Polio, Dennis W. <DPolio@oag.state.va.us>; Murphy, Andrew P.
<AMurphy@oag.state.va.us>
Subject: RE: Request for Records under VFOIA and NVRA


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     Clicking Links, Especially From Unknown Senders.

Great, thank you Ms. Coles and all. Will circulate a calendar invite shortly.

--
Ryan Snow (he/him/his)
Counsel, Voting Rights Project
Lawyers’ Committee for Civil Rights Under Law
1500 K Street, NW, Suite 900
Washington, D.C. 20005
rsnow@lawyerscommittee.org
Office: 202-662-8312
Mobile: 650-303-7852



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From: Coles, Ashley (ELECT) <Ashley.Coles@elections.virginia.gov>
Sent: Thursday, September 5, 2024 1:56 PM
To: Ryan Snow <rsnow@lawyerscommittee.org>; FOIA (ELECT) <FOIA@elections.virginia.gov>
Cc: monica@vacir.org; Javon Davis <jdavis@lawyerscommittee.org>; Lawless, Rachel (ELECT)
<Rachel.Lawless@elections.virginia.gov>; Polio, Dennis W. <DPolio@oag.state.va.us>; Murphy, Andrew P.
<AMurphy@oag.state.va.us>
Subject: Re: Request for Records under VFOIA and NVRA

Ryan,

That works well. Please add Rachel Lawless, Dennis Polio, and Andrew Murphy to the invite. They are all
cc’d on this email.

Kindly,
                                                                       2
Ashley Coles
Senior Policy Analyst
Virginia Department of Elections
1100 Bank St 1st Floor
Richmond, VA 23219
Ashley.Coles@elections.virginia.gov
804.864.8933 (office)




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From: Ryan Snow <rsnow@lawyerscommittee.org>
Sent: Thursday, September 5, 2024 12:11:03 PM
To: Coles, Ashley (ELECT) <Ashley.Coles@elections.virginia.gov>; FOIA (ELECT) <FOIA@elections.virginia.gov>
Cc: monica@vacir.org <monica@vacir.org>; Javon Davis <jdavis@lawyerscommittee.org>
Subject: RE: Request for Records under VFOIA and NVRA


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     Clicking Links, Especially From Unknown Senders.

Thanks, Ms. Coles. 10am Monday sounds good. I will plan to provide a zoom link if that works for you.

Best,
Ryan

--
Ryan Snow (he/him/his)
Counsel, Voting Rights Project
Lawyers’ Committee for Civil Rights Under Law
1500 K Street, NW, Suite 900
Washington, D.C. 20005
rsnow@lawyerscommittee.org
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From: Coles, Ashley (ELECT) <Ashley.Coles@elections.virginia.gov>
Sent: Thursday, September 5, 2024 7:37 AM
                                                                          3
To: Ryan Snow <rsnow@lawyerscommittee.org>; FOIA (ELECT) <FOIA@elections.virginia.gov>
Cc: monica@vacir.org; Javon Davis <jdavis@lawyerscommittee.org>
Subject: Re: Request for Records under VFOIA and NVRA

Ryan,

Our availability on Monday is relatively open now so we are happy to arrange a call then. Would 10am
work for you all? If not, we can do anytime before 12 or after 2 that day.

Kindly,

Ashley Coles
Senior Policy Analyst
Virginia Department of Elections
1100 Bank St 1st Floor
Richmond, VA 23219
Ashley.Coles@elections.virginia.gov
804.864.8933 (office)




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From: Ryan Snow <rsnow@lawyerscommittee.org>
Sent: Wednesday, September 4, 2024 3:18:38 PM
To: Coles, Ashley (ELECT) <Ashley.Coles@elections.virginia.gov>; FOIA (ELECT) <FOIA@elections.virginia.gov>
Cc: monica@vacir.org <monica@vacir.org>; Javon Davis <jdavis@lawyerscommittee.org>
Subject: RE: Request for Records under VFOIA and NVRA


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Thank you, Ms. Coles. If you have availability for a brief call tomorrow before 1pm, 2:30-3pm, or 3:30-5pm; Friday
before 10:30am or after 12pm; or earlier in the week next week, that would be preferable.

Best,
Ryan

--
Ryan Snow (he/him/his)
Counsel, Voting Rights Project
Lawyers’ Committee for Civil Rights Under Law
1500 K Street, NW, Suite 900
Washington, D.C. 20005
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From: Coles, Ashley (ELECT) <Ashley.Coles@elections.virginia.gov>
Sent: Friday, August 30, 2024 4:22 PM
To: Ryan Snow <rsnow@lawyerscommittee.org>; FOIA (ELECT) <FOIA@elections.virginia.gov>
Cc: monica@vacir.org; Javon Davis <jdavis@lawyerscommittee.org>
Subject: Re: Request for Records under VFOIA and NVRA

Hi Ryan,

Yes, I can confirm the date range for the estimates are from January 1, 2022 until the date the request
was submitted. We are happy to schedule a meeting to discuss and potentially refine your request.
However, would you be amenable to the week of September 9 th for this meeting? Thursday the 12th at
10AM or 1PM, or Friday the 13th any time after 11AM is preferred.

If this is too far out and you would prefer an earlier date please let me know.

Kindly,

Ashley Coles
Senior Policy Analyst & Chief Records Officer
Virginia Department of Elections
1100 Bank St 1st Floor
Richmond, VA 23219
Ashley.Coles@elections.virginia.gov
804.864.8933 (office)




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                        disclaimer/index.html.




From: Ryan Snow <rsnow@lawyerscommittee.org>
Sent: Thursday, August 29, 2024 7:13 PM
To: FOIA (ELECT) <FOIA@elections.virginia.gov>
Cc: Coles, Ashley (ELECT) <Ashley.Coles@elections.virginia.gov>; monica@vacir.org <monica@vacir.org>; Javon Davis
<jdavis@lawyerscommittee.org>
Subject: RE: Request for Records under VFOIA and NVRA

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Hello,

Thank you for your response and cost estimates. We would like to work with your office to narrow these requests,
but first want to confirm that these cost estimates take into account that our request focuses only on records
generated between January 15, 2022, and the date of your response.

Would your office be available for a very brief call sometime next week, Sept 3-6 to discuss this records request?
Please let us know.

Best,
Ryan

--
Ryan Snow (he/him/his)
Counsel, Voting Rights Project
Lawyers’ Committee for Civil Rights Under Law
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From: FOIA (ELECT) <FOIA@elections.virginia.gov>
Sent: Thursday, August 29, 2024 4:07 PM
To: Ryan Snow <rsnow@lawyerscommittee.org>
Cc: Coles, Ashley (ELECT) <Ashley.Coles@elections.virginia.gov>; monica@vacir.org; Javon Davis
<jdavis@lawyerscommittee.org>
Subject: Re: Request for Records under VFOIA and NVRA

[EXTERNAL EMAIL] This email originated outside the organization. Do not click any links or open any attachments unless you
can verify the legitimacy.
Ryan Snow,

Thank you for your request pursuant to the National Voter Registration Act (NVRA) 52 U.S.C. § 20507(i) and
the Virginia Freedom of Information Act (FOIA) § 2.2-3704.
With respect to request #6, this information falls under the NVRA and we will work to provide any responsive
records within 90 days from the date of your request. Please note, these records will not include any vote
history information as this is governed by § 24.2-406 of the Code of Virginia and is not available under the
NVRA. Vote history information is only available, for a reasonable fee, to the entities authorized in § 24.2-406
and can only be used for specific purposes.
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With respect to requests #1c and #1d, the Department of Motor Vehicles (DMV) is the proper custodian of
your requested records for DMV data. With respect to request #1g, this request is too broad and requires
more reasonable specificity pursuant to § 2.2-3704(B). With respect to request #3, the Department of
Elections (ELECT) is not an investigative body and does not conduct investigations.
With respect to request #4, general registrars manage correspondence between registered voters that are
cancelled pursuant to § 24.2-427(B). However, ELECT can provide a “representative sample of each form
letter” that is automatically generated by ELECT for general registrar’s use.
With respect to the remainder of your request, please see the cost estimate attached. Please note, your
request is extremely broad and incurs a significant cost estimate without more reasonable specificity pursuant
to § 2.2-3704(B). In order to provide an estimate for any and all responsive records, ELECT has to utilize search
terms as related to or included in your request.
These broad terms are also commonly used in news articles and listservs. Therefore, any articles or listservs
that mentions these terms and are sent via email are included in the counts for potentially responsive records
and ELECT cannot proactively filter them out. Additionally, any duplicate emails cannot be proactively filtered
out and the number of responsive emails to review increase based on the number of individuals on a
particular email chain.
Although there may be significant number of records to review, this does not mean there will be an equally
significant number of records responsive to your request. Each individual record must be reviewed for
responsiveness.
Please let us know how you would like to proceed.
Thank you,
The Virginia Department of Elections



From: FOIA (ELECT) <FOIA@elections.virginia.gov>
Sent: Tuesday, August 27, 2024 9:00 PM
To: rsnow@lawyerscommittee.org (rsnow@lawyerscommittee.org) <rsnow@lawyerscommittee.org>
Cc: Coles, Ashley (ELECT) <Ashley.Coles@elections.virginia.gov>; monica@vacir.org <monica@vacir.org>; Javon Davis
<jdavis@lawyerscommittee.org>
Subject: Re: Request for Records under VFOIA and NVRA

Ryan Snow,

Thank you for your request pursuant to the National Voter Registration Act (NVRA) 52 U.S.C. § 20507(i) and
the Virginia Freedom of Information Act (FOIA) § 2.2-3704.

Due to the limited availability and present work demands of the Department of Elections’ (ELECT) personnel,
ELECT will take up to seven additional workdays to provide a response to your requests and any potential
estimates that fall under § 2.2-3704 pursuant to § 2.2-3704(B)(4).

Please let us know if you have any questions or concerns.

Thank you,

                                                         7
The Virginia Department of Elections


From: FOIA (ELECT) <FOIA@elections.virginia.gov>
Sent: Tuesday, August 20, 2024 8:18 PM
To: Ryan Snow <rsnow@lawyerscommittee.org>
Subject: RE: Request for Records under VFOIA and NVRA

Good afternoon,

Thank you for your request under the Virginia Freedom of Information Act (FOIA). Our Chief FOIA Officer will review
your request and be in touch within five (5) business days. If you have any questions or concerns, please let me
know.

Thank you for contacting the Virginia Department of Elections.



From: Ryan Snow <rsnow@lawyerscommittee.org>
Sent: Tuesday, August 20, 2024 3:41 PM
To: Governor's FOIA Office <foia@governor.virginia.gov>; FOIA (ELECT) <foia@elections.virginia.gov>;
foia@oag.state.va.us; FOIA (DMV) <foia@dmv.virginia.gov>
Cc: Monica Sarmiento <monica@vacir.org>; Javon Davis <jdavis@lawyerscommittee.org>
Subject: Request for Records under VFOIA and NVRA


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Dear FOIA officers,

Please see the attached letter from the Virginia Coalition for Immigrant Rights requesting records pursuant to the
Virginia Freedom of Information Act and the National Voter Registration Act concerning the removal of Virginia
registered voters from the voter rolls on the basis of their alleged citizenship status.

Please let us know if you have any questions. We appreciate your attention to this matter and look forward to
working with you on the production of the requested records.

Best,
Ryan

--
Ryan Snow (he/him/his)
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Lawyers’ Committee for Civil Rights Under Law
1500 K Street, NW, Suite 900
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